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                                                                    13   Uber Technologies, Inc.
                                            ATTORNEYS AT LAW




                                                                    14                              UNITED STATES BANKRUPTCY COURT
                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                    15                                   SAN FRANCISCO DIVISION

                                                                    16   In re:                                                Case No. 20-30242 (HLB)
                                                                    17   ANTHONY SCOTT LEVANDOWSKI,                            Chapter 11
                                                                    18                                 Debtor.
                                                                    19   ANTHONY SCOTT LEVANDOWSKI, an                         Adv. Pro. No. 20-03050 (HLB)
                                                                         individual,
                                                                    20                                                         UBER TECHNOLOGIES INC.’S
                                                                                                       Plaintiff,              ADMINISTRATIVE MOTION TO FILE
                                                                    21                                                         PARTIALLY REDACTED MOTION TO
                                                                                         v.                                    STRIKE OR, IN THE ALTERNATIVE,
                                                                    22                                                         MOTION IN LIMINE TO EXCLUDE
                                                                         UBER TECHNOLOGIES, INC.                               REBUTTAL EXPERT REPORTS AND
                                                                    23                                                         TESTIMONY OF BENJAMIN ROSE
                                                                                                       Defendant.              AND JOSEPH SHAW AND TO FILE
                                                                    24                                                         EXHIBIT A UNDER SEAL
                                                                    25

                                                                    26            Defendant Uber Technologies, Inc. (“Uber”) hereby submits this administrative motion (the
                                                                    27   “Administrative Motion”), pursuant to section 107 of title 11 of the United States Code (the
                                                                    28   “Bankruptcy Code”), Rule 9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy


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                                                                     1   Rules”), and Civil Local Rule 79-5 (applicable to this proceeding pursuant to Bankruptcy Local

                                                                     2   Rule 1001-2(a)), for the entry of an order authorizing Uber to:

                                                                     3          (a)     File a partially redacted Motion to Strike or, in the Alternative, Motion in Limine to

                                                                     4                      Exclude Rebuttal Expert Reports and Testimony of Benjamin Rose and Joseph

                                                                     5                      Shaw (“Motion”) and

                                                                     6          (b)     File Exhibit A to the supporting declaration of Katharine Ciliberti under seal.

                                                                     7          This Administrative Motion has been served on counsel for the debtor, Anthony

                                                                     8   Levandowski (the “Debtor”), Google LLC, and all other parties who are registered through ECF.

                                                                     9                                                       I.

                                                                    10                                                    FACTS

                                                                    11          On March 22, 2021, Mr. Levandowski served the expert report of Joseph Shaw and
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                                                                    12   designated it Highly Confidential – Attorneys’ Eyes Only. Dr. Shaw’s report discusses issues
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                                                                    13   related to whether certain technology used Google confidential information. Although Uber does
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                                                                    14   not have any confidentiality interests in Exhibit A, because Mr. Levandowski has designated Dr.

                                                                    15   Shaw’s report as such, Uber files this Administrative Motion to provisionally seal Exhibit A and to

                                                                    16   provide the Debtor and Google with an opportunity to file supporting declarations under Civil Local

                                                                    17   Rule 79-5(e)(1) establishing that the designated material is sealable.

                                                                    18                                                      II.

                                                                    19                                                DISCUSSION

                                                                    20          The Bankruptcy Code, Bankruptcy Rules, and Local Rules authorize the Court to limit the

                                                                    21   disclosure of certain confidential information to protect entities from potential harm. Section 107(b)

                                                                    22   of the Bankruptcy Code provides, in relevant part, as follows:

                                                                    23                  On request of a party in interest, the bankruptcy court shall . . .
                                                                    24                  (1) protect an entity with respect to a trade secret or confidential
                                                                                        research, development, or commercial information . . . .
                                                                    25

                                                                    26   11 U.S.C. § 107(b)(1).

                                                                    27          Bankruptcy Rule 9018 provides that on motion, with or without notice, the court may make

                                                                    28   any order which justice requires, inter alia, to protect “any entity in respect of a trade secret or other

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                                                                     1   confidential research, development, or commercial information.” See Fed. R. Bankr. P. 9018. The

                                                                     2   Local Rules further provide that “[n]o document may be filed under seal . . . except pursuant to a

                                                                     3   Court order that authorizes the sealing of the particular document or portions thereof.” Civil Local

                                                                     4   Rule 79-5 (applicable to this proceeding pursuant to Bankruptcy Local Rule 1001-2(a)).

                                                                     5          Uber seeks to provisionally seal Exhibit A to the supporting declaration of Katharine

                                                                     6   Ciliberti because it has been designated Highly Confidential – AEO by Mr. Levandowski and

                                                                     7   subject to the Protective Order entered in this proceeding. Uber takes no position on whether Exhibit

                                                                     8   A should be sealed from the public; however, Uber understands that the Debtor and/or Google may

                                                                     9   assert confidentiality interests in Exhibit A and thus seeks to provide them with an opportunity to file

                                                                    10   supporting declarations establishing their confidentiality interests pursuant to Civil Local Rule 79-5.

                                                                    11   In the meantime, Uber has redacted certain references to Exhibit A in its Motion and has
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                                                                    12   provisionally filed Exhibit A under seal.
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                                                                    13          As the parties are aware, the Protective Order entered in this matter does not automatically
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                                                                    14   entitle parties to file documents under seal, but it does recognize the parties’ obligations to follow

                                                                    15   the procedures set forth in Civil Local Rule 79-5 when warranted. For the reasons describe above,

                                                                    16   Uber believes that the relief requested herein is an appropriate exercise of this Court’s authority

                                                                    17   under both section 107 of the Bankruptcy Code and Local Rule 1002-2(a) and should be granted.

                                                                    18                                                     III.

                                                                    19                                               CONCLUSION

                                                                    20          For all of the foregoing reasons, the Uber respectfully requests that the Court grant this

                                                                    21   Administrative Motion and enter the accompanying proposed order.

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                                                                     1   Respectfully Submitted,

                                                                     2   Dated: March 29, 2021                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                     3
                                                                                                                   By:   /s/ Debra I. Grassgreen
                                                                     4                                                   Debra I. Grassgreen
                                                                                                                         Miriam Manning
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                                                                                                                         and
                                                                     6
                                                                                                                         JENNER & BLOCK LLP
                                                                     7                                                   David J. Bradford
                                                                                                                         Catherine Steege
                                                                     8                                                   Terri L. Mascherin
                                                                                                                         Katharine Ciliberti
                                                                     9
                                                                                                                         Attorneys for Uber Technologies, Inc.
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